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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

In re:                                               )           Chapter 11
                                                     )
EAT HERE BRANDS, LLC, et al.1,                       )           Lead Case No. 19-61688-WLH
                                                     )
                 Debtors.                            )           Jointly Administered
                                                     )

       DEBTORS’ OBJECTION TO APPLICATION OF S.A.R. ASSOCIATES, INC.
    FOR ALLOWANCE AND PAYMENT OF AN ADMINISTRATIVE EXPENSE CLAIM
            PURSUANT TO BANKRUPTCY CODE SECTION 503(B)(9)

         Eat Here Brands, LLC, Babalu Atlanta #1 LLC, Babalu Atlanta #2 LLC,

Babalu Knoxville #1 LLC, Babalu Memphis #1 LLC, Babalu Memphis #2 LLC, Babalu, LLC,

and Babalu Birmingham #1 LLC (collectively, the “Debtors”) file this objection

(the “Objection”) to the Application of S.A.R. Associates, Inc. for Allowance and Payment of an

Administrative Expense Claim Pursuant to Bankruptcy Code Section 503(b)(9) [Docket No. 86]

(the “Motion”) scheduled to be heard on September 26, 2019 at 1:30 p.m. (the “Hearing”).

In support of their Objection, the Debtors show the Court the following:

                                            INTRODUCTION

         1.      The Motion should be denied because SAR (defined below) has not met, and

cannot meet, its burden of establishing the elements of an administrative expense claim under

11 U.S.C. § 503(b)(9) because it has failed to (a) show that it delivered “goods” to the Debtors

within 20 days prior to the Petition Date (defined below) and (b) show that any goods/services

that it delivered were sold to the Debtors in the “ordinary course” of the Debtors’ businesses.

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          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, are as follows: Eat Here Brands, LLC (9694); Babalu Atlanta #1 LLC (4025); Babalu Atlanta
#2 LLC (5240); Babalu Knoxville #1 LLC (3163); Babalu Memphis #1 LLC (9320); Babalu Memphis #2 LLC
(4558); Babalu, LLC (7673); and Babalu Birmingham #1 LLC (1892). The Debtors’ mailing address is 9755
Dogwood Road, Suite 200, Roswell, Georgia 30075.



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Even if SAR was entitled to an administrative expense claim under 11 U.S.C. § 503(b)(9), which

it is not, it is not entitled to the immediate payment of the SAR Claim (defined below) because

immediate payment of such claim: (a) would prejudice the Debtors and their creditors other than

SAR, (b) is not necessary to prevent undue hardship to SAR, and (c) was not included in the

Budget (defined below).

                                         BACKGROUND

        2.       On July 30, 2019 (the “Petition Date”), the Debtors each commenced voluntary

cases (the “Bankruptcy Cases”) under Chapter 11 of Title 11 of the United States Code

(the “Bankruptcy Code”).

        3.       The Debtors have continued in possession of their properties and have continued

to operate and manage their respective businesses as debtors-in-possession pursuant to

Sections 1107(a) and 1108 of the Bankruptcy Code.

        4.       As of the date of this filing, no request has been made for the appointment of a

trustee or examiner.

        5.       Additional information about the Debtors’ businesses and the events leading up to

the commencement of the Bankruptcy Cases can be found in the Declaration of Ned Lidvall,

Chief Executive Officer of the Debtors, in Support of Chapter 11 Petitions and First-Day Orders

[Docket No. 5] (the “Lidvall Declaration”), which is incorporated herein by reference.

        6.       On August 20, 2019, the Court entered a Final DIP Order in these Bankruptcy

Cases [Docket No. 69] as amended by that certain Amended Final DIP Order [Docket No. 103]

(the “Final DIP Order”), which, among other things, authorized the Debtors to use cash collateral

and the proceeds of the Debtors’ DIP loan from Origin Bank pursuant to a budget, which was

attached to the DIP Financing Motion [Docket No. 16] as Exhibit C (the “Budget”).



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        7.       On August 30, 2019, S.A.R. Associates, Inc. (“SAR”) filed the Motion seeking

entry of an order allowing it an administrative expense claim pursuant to Section 503(b)(9) of the

Bankruptcy Code in the amount $65,514.00 (the “SAR Claim”), and directing the prompt

payment of the SAR Claim.

        8.       The Budget does not provide for the payment of the SAR Claim or any other

Section 503(b)(9) administrative expense claim.

                                            OBJECTION

        A        SAR has Failed to Meet Its Burden of Proof to Establish the Necessary
                 Elements of a Section 503(b)(9) Administrative Expense Claim.

        9.       Section 503(b)(9) of the Bankruptcy Code “‘provides for the allowance of an

administrative claim provided the claimant establishes: (1) the vendor sold “goods” to the debtor;

(2) the goods were received by the debtor within twenty days prior to filing; and (3) the goods

were sold to the debtor in the ordinary course of business.’” In re PMC Mktg. Corp., 517 B.R.

386, 391 (B.A.P. 1st Cir. 2014) (quoting In re NE Opco, Inc., 501 B.R. 233, 240–41 (Bankr. D.

Del. 2013) (quoting In re Goody's Family Clothing, Inc., 401 B.R. 131, 133

(Bankr.D.Del.2009)). An administrative expense claimant bears the burden of establishing that

its claim qualifies for priority status. Id. (internal quotations and citation omitted).

                 (i)   SAR has Not Shown and Cannot Show that it Sold Goods to the
                       Debtors within 20 days of the Petition Date.

        10.      SAR is not entitled to the requested administrative expense claim because the

invoices attached the Motion are not for “goods” sold to the Debtors as required by

Section 503(b)(9) of the Bankruptcy Code and applicable law. For example, Exhibit A of the

Motion reflects that $1,999.00 of the requested administrative expense claim is for “labor only.”

“It is well-settled that the statute does not provide priority status to claims for services rendered;


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it refers only to ‘the value of ... goods.’” In re PMC Mktg. Corp., 517 B.R. at 391 (quoting In re

Erving Indus., Inc., 432 B.R. 354, 361 (Bankr. D. Mass. 2010) (quoting 11 U.S.C. § 503(b)(9)));

see also In re NE Opco, Inc., 501 B.R. at 241 (“An administrative priority claim under [§]

503(b)(9) is limited to the provision of goods.”).

        11.      The bankruptcy court for the District of Delaware has held that the administrative

priority provided by Section 503(b)(9) is limited to goods received by the debtor in the twenty

days preceding bankruptcy. See In re Goody's Family Clothing, Inc., 401 B.R. at 134–135

(denying administrative expense status under § 503(b)(9) for services provided to the debtor

within 20 days preceding the bankruptcy filing); see also In re NE Opco, Inc., 501 B.R. at 258

(finding that where supplier provided goods and services to debtor, supplier only had claim

under Section 503(b)(9) for the goods it provided).

        12.      In Goody’s, a case involving goods and services, a creditor performed certain

services to goods which the apparel retailer debtor purchased from other vendors. In re Goody's

Family Clothing, Inc., 401 B.R. 131. The creditor performed the services on the goods (such as

packaging and ticketing clothing) and shipped the goods to the debtor within 20 days of the

petition date.    Id. at 135.    The court sustained the debtor’s objection to the creditor’s

Section 503(b)(9) claim. Id. The court held that although the services were performed on goods

shipped to the debtor, the creditor sold services, and not goods, and Section 503(b)(9) only

provides priority to goods “sold” to a debtor. Id. Here, SAR is a general contractor performing

building and construction services to the Debtors for the construction of a restaurant. Although

SAR may have used certain goods (such as paint, lumber, shingles, doors, and windows) to

render its services to the Debtors, the goods were supplied by subcontractors and vendors to the

Debtors with SAR performing services on or with those goods (i.e. applying paint or



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coordinating paint subcontractors that would apply the paint).     See In re Modern Metal Prod.

Co, No. BANKR. 08-73908, 2009 WL 2969762, at *3 (Bankr. N.D. Ill. Sept. 16, 2009)

(disallowing section 503(b)(9) claim of creditor that processed steel plates furnished by debtor

because creditor performed services on debtor’s goods but did not sell the goods to the debtor).

Because SAR has failed to show that it sold goods to the Debtors within 20 days of the Petition

Date, the SAR Claim is not entitled administrative priority under Section 503(b)(9), and the

Motion should be denied.

                        (ii)   SAR did Not Sell Goods/Services to the Debtors in the
                               Ordinary Course of the Debtors’ Businesses.

        13.      SAR also is not entitled to the requested administrative expense claim because the

goods/services reflected in the invoices attached the Motion were not sold to the Debtors in the

“ordinary course of business” of the Debtors as required by Section 503(b)(9) of the Bankruptcy

Code and applicable law. 11 U.S.C. § 503(b)(9). The case of In re Magwood illustrates this

point. In that case the court, while addressing reclamation, found that a car dealer that sold a car

to a debtor who purchased the car for her own personal use, did not meet the requirements for an

administrative claim under § 503(b)(9) because the debtor was not in the business of buying

vehicles. See In re Magwood, 2008 WL 509635, *1, No. 07-11288-DHW (Bankr. M.D. Ala.

Feb. 22, 2008).

        14.      The Debtors are in the food service industry and operate several restaurants.

See Lidvall Declaration ¶¶ 11-13. Thus, the types of goods that the Debtors purchase in the

ordinary course of their businesses are items such as food, alcohol, paper towels, cleaning

solutions, and linens. Although the Debtors’ parent, Eat Here Brands, LLC, does occasionally

develop and open new restaurants, none of the Debtors are in the construction industry.

Accordingly, the purchase of goods and services associated with construction of a restaurant is a


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rare and extraordinary event and would not fall within the ordinary course of the

Debtors’ businesses.

        15.      Additionally, SAR is not even the type of vendor or supplier that

Section 503(b)(9) was intended to protect. As Judge Diehl explained:

        Section 503(b)(9) was added to the Bankruptcy Code by the Bankruptcy Abuse
        Prevention and Consumer Protection Act of 2005 (“BAPCPA”).
                                                 …
        The treatment of expenses in § 503(b)(9) appears to be an outgrowth of the policy
        that first appeared in 11 U.S.C. § 546(c), which preserved the right of reclamation
        to certain sellers of goods on credit. BAPCPA included both the addition of §
        503(b)(9) and the amendment of § 546(c). … While no legislative history exists,
        one can only surmise that these amendments reflect Congress' intent to better
        insure that ordinary course of business sellers of goods received by the debtor in
        the twenty days before the petition date gain priority in payment over most other
        creditors.

In re TI Acquisition, LLC, 410 B.R. 742, 745-46 (Bankr. N.D. Ga. 2009) (Diehl, J.)

(internal citations omitted) (noting that the amendments provided “protection to sellers of goods

on credit in the period immediately preceding the filing of a bankruptcy petition, regardless of

whether the technical requirements for reclamation were met”).

        16.      Because the goods/services that SAR provided to the Debtors were outside the

ordinary course of their businesses, the SAR Claim is not entitled administrative priority under

Section 503(b)(9), and the Motion should be denied.

        B.       The Court Should Deny SAR’s Request for Immediate Payment of the
                 SAR Claim.

        17.      Even if SAR were entitled to an administrative expense claim pursuant to Section

503(b)(9) of the Bankruptcy Code, which it is not, it is not entitled to the immediate payment of

such claim under applicable law. It is well-established that “the timing of the payment of

administrative claims is within the discretion of the Court.” In re TI Acquisition, LLC, 410 B.R.

at 751 (Bankr. N.D. Ga. 2009) (Diehl, J.) (citing In re Colortex Indus., 19 F.3d 1371, 1384


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(11th Cir.1994); In re HQ Global Holdings, Inc., 282 B.R. 169, 173 (Bankr. D. Del.

2002); see also COLLIER ON BANKRUPTCY ¶ 503.3 at 503–13 (15th rev. ed.)); see also In re

NE Opco, Inc., 501 B.R. at 259. “In determining the time of payment, courts consider prejudice

to the debtor, hardship to the claimant, and potential detriment to other creditors.” In re NE

Opco, Inc., 501 B.R. at 259 (citation omitted). More particularly, “one of the chief factors courts

consider is bankruptcy's goal of an orderly and equal distribution among creditors and the need

to prevent a race to a debtor's assets.” Id.

        18.      The orderly treatment of Section 503(b)(9) claims is essential for the efficient

administration of the Debtors’ bankruptcy estates and a successful reorganization. The Debtors

will have to determine the amount and validity of all administrative expense claims, including

Section 503(b)(9) claims, in order to formulate a plan. Requiring the Debtors to pay such claims

at this early stage would harm the Debtors because of the limited working capital that is available

to them. Additionally, if the Court were to order the Debtors to pay the SAR Claim at this

juncture, it is possible that the Debtors will receive requests from other parties that have not been

paid for purported administrative expense obligations to date, which will distract the Debtors

from the administration of these Bankruptcy Cases and their efforts to sell their assets for the

benefit of all stakeholders. Moreover, pursuant to the Final DIP Order, the Debtors are only

authorized to use the DIP Loan Amount2 and the DIP Collateral (including Cash Collateral) for

the purposes and amounts set forth in the DIP Loan Agreement and the Budget, which were both

approved by the DIP Lender. The payment of the SAR Claim was not included in the Budget,

and payment thereof would amount to use of Origin Bank’s collateral without its consent.

Accordingly, the immediate payment of the SAR Claim would significantly prejudice the


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         Capitalized terms used in this paragraph and not otherwise defined herein shall have the meanings given to
them in the Final DIP Order.

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Debtors and other creditors.3 In short, even if SAR were entitled to an administrative expense

under Section 503(b)(9), which it is not, SAR is not entitled to immediate payment of the SAR

Claim.

                                    RESERVATION OF RIGHTS

         19.     The Debtors reserve the right to address these and any other issues

(including those raised by other parties-in-interest) at the Hearing on the Motion.

         WHEREFORE the Debtors respectfully request that the Court sustain the Objection and

deny the Motion, and grant the Debtors such other relief as is just and proper.

Respectfully submitted this 23rd day of September 2019.

                                                  ARNALL GOLDEN GREGORY LLP

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                                                  Attorneys for Debtors and Debtors in Possession




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         Notably, while the Debtors are sympathetic to all unpaid claimants, SAR also has not shown that it is
necessary to make immediate payment of the SAR Claim or that SAR would face a substantial hardship if the SAR
Claim is not paid immediately. In re NE Opco, Inc., 501 B.R. at 259 (“To qualify for exceptional immediate
payment, a creditor must show that there is a necessity to pay and not merely that the Debtor has the ability
to pay.”).

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